                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.                           §    CIVIL ACTION No. 19-cv-14765
                                                 §
VS.                                              §    SECTION (D)
                                                 §
M/V BOUCHARD GIRLS, her tackle,                  §    DIVISION (3)
furniture, apparel, appurtenances, etc. in       §
rem, and the Barge B. NO. 295, her tackle,       §    JUDGE: Wendy B. Vitter
furniture, apparel, appurtenances, etc. in       §
rem and BOUCHARD                                 §    MAGISTRATE: Dana M. Douglas
TRANSPORTATION CO., INC. in                      §
personam                                         §

                OBJECTION TO EXTENSION OF ANSWER DEADLINES

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, E.N. Bisso & Son,

Inc., (“E.N. Bisso”), and hereby submits this Objection to Extension of Answer Deadlines (the

“Objection”), in anticipatory opposition to any extensions of time to file responsive pleadings in

this case by the M/V BOUCHARD GIRLS, (the “Bouchard Girls”), the Barge B. NO. 295 (the

“Barge,” and together with the Bouchard Girls, the “Vessels”), Bouchard Transportation, Co., Inc.,

(“Bouchard Transportation”), Tug Bouchard Girls Corp., (“Bouchard Girls Corp.”), and/or B.

No. 295 Corp. (“295 Corp.”), and respectfully represents as follows:

       1.       On December 27, 2019, E.N. Bisso filed a Verified Complaint (the “Verified

Complaint”) in the above-captioned matter, through which it seeks the arrest of the Vessels and

the sale thereof to satisfy outstanding obligations owed to E.N. Bisso by the Vessels and Bouchard

Transportation, Co., Inc. (“Bouchard”), against which Bisso has also asserted in personam claims

in this matter. (ECF Doc. No. 1).

       2.       On December 27, 2019, the Clerk of this Court issued Warrants of Arrest

commanding the United States Marshal for the Eastern District of Louisiana to arrest and take into

custody the in rem defendant Vessels and to detain the same in custody until further Order of the

                                                1
Court, which were served on the Vessels on December 27, 2019. (ECF Doc. No. 9).

       3.       On December 27, 2019, E.N. Bisso filed a Motion To Appoint a Substitute

Custodian and on the same date the Court issued an Order appointing Blue Marine Security, LLC

(“Blue Marine”) as the substitute custodian for the Vessels. (ECF Doc. Nos. 3, 7).

       4.       On January 8, 2020, service of the citation and Verified Complaint was effected

upon Bouchard Transportation, as reflected in the Affidavit of Service attached hereto and

incorporated by reference as Exhibit “A.”

       5.       Soon after commencement of the case, counsel for Bouchard contacted

undersigned counsel and suggested that Bouchard Girls Corp. should serve as substitute custodian

of the Vessels in order to minimize custodial expenses during the pendency of the arrest of the

Vessels.

       6.       Upon receipt of an affidavit wherein Morton S. Bouchard, III, principal of

Bouchard Transportation, Bouchard Girls Corp. and 295 Corp., averred that Bouchard Girls Corp.

had sufficient facilities and personnel to take and maintain custody of the Vessels during pendency

of the arrest, E.N. Bisso filed an Ex Parte Motion To Appoint Tug Bouchard Girls Corp., Through

the Captain and Relief Captain of the M/V Bouchard Girls, as Substitute Custodian on January

13, 2020, which this Court granted per Order dated January 14, 2020. (ECF Doc. Nos. 14, 15).

       7.       On January 11, 2020, E.N. Bisso published a notice of the commencement of this

action and arrest of the Vessels and submitted a declaration attesting to same on January 13, 2020.

(ECF Doc. No. 13).

       8.       On January 22, 2020, Bouchard Girls Corp. and 295 Corp. filed Verified

Statements of Right or Interest, wherein those entities asserted rights as owners of the Vessels.

(ECF Doc. Nos. 18, 19).



                                                2
       9.        As of the date of this Objection, Bouchard Transportation has not filed an answer

or other responsive pleading, and no counsel has entered an appearance on behalf of Bouchard

Transportation. Furthermore, no one has filed an answer on behalf of the Vessels.

                                    LAW AND ARGUMENT

       10.       Rule 7.8 of the Local Civil Rules for the United States District Court for the

Eastern District of Louisiana permits a party to obtain an ex parte extension of the time to file

responsive pleadings only upon showing, inter alia, that an opposing party has not filed an

objection into the record opposing such an extension. LR 7.8.

       11.       Pursuant to Rule C(6)(a)(iv) of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions, “a person who asserts a right of possession or any ownership

interest [in a seized vessel] must serve an answer within 21 days after filing the statement of

interest of right.” Fed. R. Civ. P. C(6)(a)(iv). Accordingly, the deadline for the Vessels, Bouchard

Girls Corp., and 295 Corp. to file responsive pleadings is February 12, 2020. E.N. Bisso objects

to the extension of the responsive pleadings deadline beyond this date for the Vessels, Bouchard

Girls Corp., or 295 Corp. by ex parte motion and order.

       12.       Regarding the in personam claims against Bouchard Transportation, that entity

has not filed a statement of right or interest in either of the Vessels, and the generally applicable

deadline to answer a complaint within twenty-one (21) days of service of the complaint applies.

See Fed. R. Civ. Proc. 12(a) (“Unless another time is specified by this rule or a federal statute . . .

[a] defendant must serve an answer within 21 days after being served with the summons and

complaint.”).

       13.       Having been served with the summons and Verified Complaint on January 8,

2020, the deadline for Bouchard Transportation to answer the Verified Complaint expired on



                                                  3
January 29, 2020. E.N. Bisso objects to the extension of the deadline for Bouchard Transportation

to answer E.N. Bisso’s in personam claims by ex parte motion and order.

       14.      Accordingly, E.N. Bisso hereby provides notice that it opposes any extension of

applicable deadlines for the Vessels, Bouchard Transportation, Bouchard Girls Corp., and/or 295

Corp. to file responsive pleading by ex parte motion and order, thereby foreclosing the opportunity

for any such relief per operation of Local Rule 7.8.

 LUGENBUHL, WHEATON, PECK                              Respectfully submitted,
    RANKIN & HUBBARD
                                                       _/s/ Stewart F. Peck_______________
                                                       STEWART F. PECK (#10403)
                                                       JAMES W. THURMAN (#38494)
                                                       601 Poydras Street Suite 2775
                                                       New Orleans, LA 70130
                                                       Telephone: (504) 568-1990
                                                       Facsimile: (504) 310-9195
                                                       Email: speck@lawla.com;
                                                       jthurman@lawla.com

                                                       Attorneys for E.N. Bisso & Son, Inc.


                                CERTIFICATE OF SERVICE

       I hereby certify on February 11, 2020, true and correct copies of the foregoing were served

via electronic mail by operation of this Court’s CM/ECF system on all parties having entered

appearances in this matter.

                                                       _/s/ Stewart F. Peck_______________




                                                 4
